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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JIMMY L. BENNETT,                            §
    Plaintiff,                               §
                                             §
vs.                                          §
                                             §           CAUSE NO. 4:16-cv-01737
CENTRAL MUTUAL INSURANCE                     §
COMPANY, CRUSE AND DICE                      §
INSURANCE AGENCY AND                         §
JERRY LEE GERRON,                            §
     Defendants.                             §

                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Defendant Cruse and Dice Insurance Agency and Plaintiff Jimmy L. Bennett hereby

stipulate to the voluntary dismissal with prejudice of this matter. Pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii) and 41(c), Defendant Cruse and Dice Insurance Agency and

Plaintiff Jimmy L. Bennett hereby stipulate to the voluntary dismissal with prejudice of (a) all

claims asserted (or that could have been asserted) by Plaintiff Jimmy L. Bennett against

Defendant Cruse and Dice Insurance Agency in this lawsuit and (b) all counter-claims asserted

(or that could have been asserted) by Defendant Cruse and Dice Insurance Agency against

Plaintiff Jimmy L. Bennett in this lawsuit. Therefore, all claims asserted (or that could have

been asserted) by Plaintiff Jimmy L. Bennett against Defendant Cruse and Dice Insurance

Agency and all counter-claims asserted (or that could have been asserted) by Cruse and Dice

Insurance Agency against Plaintiff Jimmy L. Bennett are hereby dismissed with prejudice, with

each party to bear its own costs, if any.

        SO STIPULATED, this the 20th day of July 2016.




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                                      Respectfully submitted,




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                                      And


                                             /s/ Thomas A. Culpepper
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on the 20TH day of July, 2016, the foregoing pleading was
delivered to the following counsel of record via electronic filing and e-mail in accordance with
the Federal Rules of Civil Procedure:

Russell J. Bowman
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                                                 /s/ Thomas A. Culpepper
                                            Thomas A. Culpepper




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